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 1                                                                                          UNASSIGNED

 2                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 3                                    SEATTLE DIVISION

 4     SECURITIES AND EXCHANGE COMMISSION,

 5                            Plaintiff,
       v.
                                                                  Civil Action No. 2:22-cv-1009
 6
       ISHAN WAHI, NIKHIL WAHI, and SAMEER
                                                                  NOTICE OF APPEARANCE
 7     RAMANI,

 8                            Defendants.

 9

10           Pursuant to Local Rules 83.2 please enter the appearance of Peter Lallas as counsel for

11   plaintiff Securities and Exchange Commission in the above-captioned matter.

12

13                                                    Respectfully submitted,

14                                                        /s/ Peter C. Lallas
                                                      Peter C. Lallas
15                                                    (Conditionally Admitted Under LR 83.1)
                                                      Securities and Exchange Commission
16                                                    100 F. Street, NE
                                                      Washington, D.C. 20549
17                                                    202-551-6864
                                                      lallasp@sec.gov
18

19

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21

22

23


     Notice of Appearance                                       Securities and Exchange Commission
     2:22-cv-1009                                                                  100 F Street, N.E.
                                                                             Washington, D.C. 20549
